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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    STRIKE 3 HOLDINGS, LLC,                1:18-cv-2674-NLH-JS

                    Plaintiff,             OPINION

          v.

    JOHN DOE subscriber assigned
    IP address 173.71.68.16,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:18-cv-12585-NLH-JS
                    Plaintiff,

          v.                               OPINION
    JOHN DOE subscriber assigned
    IP address 76.116.36.190,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:18-cv-12586-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 76.116.76.28,

                    Defendant.
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    STRIKE 3 HOLDINGS, LLC,                1:18-cv-16564-NLH-JS

                    Plaintiff,             OPINION

          v.

    JOHN DOE subscriber assigned
    IP address 76.116.4.83,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:18-cv-16565-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 173.71.88.194,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:18-cv-16566-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 173.61.123.185,

                    Defendant.




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    STRIKE 3 HOLDINGS, LLC,
                                           1:18-cv-17594-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 73.199.120.248,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:18-cv-17595-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 76.116.3.105,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:19-cv-00894-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 73.194.76.148,

                    Defendant.




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    STRIKE 3 HOLDINGS, LLC,
                                           1:19-cv-00895-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 76.116.95.148,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:19-cv-14014-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 174.57.174.87,

                    Defendant.


    STRIKE 3 HOLDINGS, LLC,
                                           1:19-cv-14015-NLH-JS
                    Plaintiff,
                                           OPINION
          v.

    JOHN DOE subscriber assigned
    IP address 73.215.174.234,

                    Defendant.




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    STRIKE 3 HOLDINGS, LLC,                1:19-cv-14016-NLH-JS

                    Plaintiff,             OPINION

          v.

    JOHN DOE subscriber assigned
    IP address 73.80.57.239,

                    Defendant.


APPEARANCES

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      Counsel for Plaintiff.

HILLMAN, District Judge

      The above-captioned matters, assigned to this Court

pursuant to Local Civil Rule 40.1(e) and by Order of the Chief

Judge, 1 come before this Court on appeal by Plaintiff Strike 3

Holdings, LLC (“Plaintiff”) of Magistrate Judge Schneider’s (the

“Magistrate Judge”) order (1) denying Plaintiff expedited

discovery in aid of identifying placeholder, John Doe defendants

(all defendants will be collectively referred to as

“Defendants”) and (2) denying Plaintiff an extension of time



1 See Case No. 1:18-cv-2674, ECF No. 33 (Order of the Chief Judge
assigning the above-captioned matters to this Court pursuant to
Local Civil Rule 40.1(e)).
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within which to serve Defendants with process.           (ECF No. 31).

For the reasons that follow, this Court will grant Plaintiff’s

appeal and reverse the decision of the Magistrate Judge.

Subject to entry of a protective order to be entered at the

Magistrate Judge’s discretion, Plaintiff will be granted leave

to serve a subpoena upon Defendants’ Internet Service Provider

(“ISP”) pursuant to Rule 45 of the Federal Rules of Civil

Procedure (“Rule 45”).      That subpoena will be limited in scope,

but will permit Plaintiff to seek the name and address of the

subscribers to the Internet Protocol (“IP”) addresses identified

in the captions of these matters for the time periods of alleged

infringement as identified in the various complaints.            Plaintiff

will also be granted an extension of time within which to

effectuate service.




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                                 BACKGROUND

      Plaintiff is an intellectual property holding company that

owns the rights to various adult films.          (ECF No. 1 (“Compl.”)

at ¶2). 2   Plaintiff’s films are often pirated through online

peer-to-peer file sharing networks and BitTorrent 3 distribution

platforms.    (Compl. at ¶4).     To combat piracy of its films,

Plaintiff identifies infringers by tracing the pirated content

back to downloader and sharer IP addresses.          See (Compl. at ¶¶9,

24, 26).    Once an infringer’s IP address is identified,

Plaintiff uses geolocation and other computer forensic




2 Plaintiff recognizes that the individual matters and motions
before the Court are nearly identical. See Strike 3 Holdings,
LLC v. Doe, No. 18-cv-12585 (NLH/JS), 2019 WL 5446239, at *1 n.1
(D.N.J. Oct. 24, 2019) (citations omitted) (“Strike 3
acknowledges its complaints are uniform.”). Therefore, for
purposes of judicial economy and clarity, the Court cites to the
record in this Opinion by referring to an exemplar matter, 18-
cv-2674-NLH-JS.

3 According to Plaintiff, BitTorrent is a system designed to
quickly distribute large files over the Internet. (ECF No. 1 at
¶17). Instead of downloading a file, such as a movie, from a
single source, Plaintiff alleges that BitTorrent users are able
to connect to the computers of other BitTorrent users in order
to simultaneously download and upload pieces of the file from
and to other users. (ECF No. 1 at ¶17). To use BitTorrent to
download a movie, the user has to obtain a “torrent” file for
that movie, from a torrent website. (ECF No. 1 at ¶18). The
torrent file contains instructions for identifying the Internet
addresses of other BitTorrent users who have the movie, and for
downloading the movie from those users. (ECF No. 1 at ¶18).
Once a user downloads all of the pieces of that movie from the
other BitTorrent users, the movie is automatically reassembled
into its original form, ready for playing on the recipient’s
device. (ECF No. 1 at ¶19).
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techniques to pinpoint the location, date, and time of the

infringing activity.      See (Compl. at ¶9).      Plaintiff then files

suit against the subscribers to the infringing IP address and

seeks expedited discovery to help uncover the true identity of

the infringer or infringers.

      In these cases, Plaintiff alleges Defendants used peer-to-

peer sharing networks to unlawfully download their films,

without permission and in violation of the Copyright Act, 17

U.S.C. § 101, et seq.      (Compl. at ¶23) (“Defendant used the

BitTorrent file network to illegally download and distribute

Plaintiff’s copyrighted motion pictures”); (Compl. at ¶27)

(“Defendant downloaded, copied, and distributed a complete copy

of each of Plaintiff’s Works without authorization”).            Plaintiff

traced the downloaded files to Defendants’ IP addresses.

(Compl. at ¶24).

      Armed with the IP address and infringement information it

gathered, Plaintiff sued the subscribers of the infringing IP

addresses.    Shortly thereafter, Plaintiff filed motions for

leave to serve early Rule 45 subpoenas on the ISPs hosting the

infringing IP addresses to discover the subscribers’ identities.

(ECF No. 4); (ECF No. 4-1 at 2) (“Strike 3 seeks leave of Court

to serve a Rule 45 subpoena on John Doe Defendant’s ISP.             This

subpoena will only demand the true name and address of John Doe

Defendant.    Strike 3 will only use this information to prosecute

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the claims made in its Complaint”).         Without that information,

Plaintiff argues it “cannot serve John Doe Defendant nor pursue

this lawsuit and protect its copyrights.”          (ECF No. 4-1 at 3).

      On May 31, 2019 and July 23, 2019, the Magistrate Judge

invited the parties to appear for evidentiary hearings and oral

argument on Plaintiff’s motion for expedited discovery.            On

October 31, 2019, the Magistrate Judge issued an omnibus opinion

and order denying Plaintiff’s motion for leave to proceed with

early third-party discovery and for an extension of time to

serve Defendants.      The opinion explained that the “fundamental

basis of the Court’s decision is its conclusion that, as

pleaded, Strike 3’s complaints are futile.”          Strike 3 Holdings,

LLC v. Doe, No. 18-cv-12585 (NLH/JS), 2019 WL 5446239, at *1

(D.N.J. Oct. 24, 2019).       Essentially, because the Court found

the complaint did not state a viable claim, expedited discovery

was not necessary.      See Id.   (“The Court denies Strike 3 the

right to bootstrap discovery based on a complaint that does not

pass muster under Fed. R. Civ. P. 12(b)(6).”).           Separately, the

court found that even if the complaints were actionable,

Plaintiff had not shown good cause to warrant expedited

discovery.    The court identified seven reasons underscoring its

conclusions:

            (1)   Strike 3 bases its complaints on unequivocal
                  affirmative representations of alleged facts
                  that it does not know to be true;

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            (2)    Strike 3’s subpoenas are misleading and
                   create too great of an opportunity for
                   misidentification;

            (3)    the linchpin of Strike 3’s good cause
                   argument, that expedited discovery is the
                   only way to stop infringement of its works,
                   is wrong;

            (4)    Strike 3 has other available means to stop
                   infringement besides suing individual
                   subscribers in thousands of John Doe
                   complaints;

            (5)    the deterrent effect of Strike 3’s lawsuits
                   is questionable;

            (6)    substantial prejudice may inure to
                   subscribers who are misidentified; and

            (7)    Strike 3 underestimates the substantial
                   interest subscribers have in the
                   constitutionally protected privacy of their
                   subscription information.

 Strike 3, 2019 WL 5446239, at *1.

       Additionally, before the Magistrate Judge were motions for

 extension of time within which to effectuate service of process.

 (ECF No. 5).     Because the court found the matters could not

 proceed as pled, it denied Plaintiff’s motion for an extension

 of time within which to serve Defendants.         (ECF No. 29) (“the

 Court entered Orders denying plaintiff’s Motions for Discovery

 and Motions for an Extension of Time in Which to Effectuate

 Service of Process.”).      In related actions where the Court had

 previously granted such applications, the Court vacated those

 orders to align with its decision.        Strike 3, 2019 WL 5446239,

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 at *16 (“[t]o the extent these motions have been previously

 granted, and the defendant has not yet been served, the Orders

 will be vacated.”).

         On October 31, 2019, Plaintiff timely appealed the

 Magistrate Judge’s decision.       (ECF No. 31).     Those appeals are

 ripe for this Court’s review.

                                 DISCUSSION

    I.     Subject Matter Jurisdiction

         This Court exercises subject matter jurisdiction pursuant

 to 28 U.S.C. § 1331 as Plaintiff asserts a claim under the

 Copyright Act, 17 U.S.C. § 101, et seq.

    II.    Legal Standard For Review Of The Magistrate Judge’s
           Decision

         The standard of review to be applied in reviewing decisions

 of magistrate judges depends upon whether the issue adjudicated

 is dispositive or non-dispositive of a party’s claims.            Pursuant

 to the Federal Magistrate Act of 1979, 28 U.S.C. § 636, et seq.

 and the Federal Rules of Civil Procedure, a United States

 Magistrate Judge may “hear and determine any [non-dispositive]

 pretrial matter pending before the court.”          28 U.S.C. §

 636(b)(1)(A); see Fed. R. Civ. P. 72; see L. Civ. R. 72.1(a)(1).

 If a magistrate judge rules on a non-dispositive matter, a

 district judge should reconsider that decision only where the




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 magistrate judge’s order is “clearly erroneous or contrary to

 law.”   28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a).

       Magistrate judges may also, upon referral from a district

 judge, recommend disposition of dispositive matters.           28 U.S.C.

 § 636(b)(1)(B); Fed. R. Civ. P. 72(b).         In doing so, the

 magistrate judge submits to a district judge “proposed findings

 of fact and recommendations” for disposition pursuant to 28

 U.S.C. § 636(b)(1)(B) and Fed. R. Civ. P. 72(b)(1).           If a party

 objects to the magistrate judge’s proposed findings, a district

 court judge must make a de novo determination of those portions

 of the report and recommendation to which objection is made.             28

 U.S.C. § 636(b)(1)(B); Fed. R. Civ. P. 72(b)(3).

       Pretrial discovery determinations are routinely treated as

 non-dispositive matters.      Andrews v. Goodyear Tire & Rubber Co.,

 191 F.R.D. 59, 67–68 (D.N.J. 2000) (collecting cases); Patterson

 v. City of Perth Amboy, No. 06-cv-4780(KSH), 2007 WL 3054939, at

 *2 (D.N.J. Oct. 11, 2007) (citing Williams v. American Cyanamid,

 164 F.R.D. 615, 617 (D.N.J. 1996)) (“[d]iscovery orders are

 generally considered non-dispositive”).         There are, however,

 exceptions to the general rule.        See, e.g., N.L.R.B. v. Frazier,

 966 F.2d 812, 816 (3d Cir. 1992) (under unique facts, finding a

 magistrate judge’s decision on whether to enforce a subpoena

 should have been treated as dispositive and reviewed by the

 district court judge de novo); Patterson, 2007 WL 3054939, at *2

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 (treating a motion to supplement an expert report as dispositive

 where denial of that motion would have dispositive implications

 on a particular claim).      The facts of each case and the context

 of each motion must be considered when deciding whether to treat

 resolution of a particular issue as dispositive or non-

 dispositive.

       Plaintiff persuasively argues that the motions for

 expedited discovery and for an extension of time to effectuate

 service decided by the Magistrate Judge have a dispositive

 impact on its claim, as denial of those motions leaves Plaintiff

 without a means for discovering the identity of the placeholder

 Defendants, essentially preventing it from proceeding with these

 actions.   (ECF No. 31-1 at 7) (“the Magistrate Judge . . .

 denied Plaintiff’s motions for an extension of time to serve

 process, pursuant to Rule 4(m), thereby requiring that each

 matter “must” be dismissed for failure to make timely service,

 if not for failure to state a claim”).          Without leave to seek

 identifying information for subscribers of the named-IP

 addresses, Plaintiff’s actions grind to halt, languishing on our

 docket until such time as the Court dismisses them for failure

 to prosecute or failure to make timely service.          While not

 dispositive in name, the thoughtful and comprehensive ruling of

 the Magistrate Judge on the issues joined by these appeals are

 dispositive in practical effect.          Under the circumstances, the

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 Court finds the safest path forward requires it to review the

 Magistrate Judge’s decision de novo.

    III. Plaintiff’s Motion For Expedited Discovery

       Plaintiff seeks discovery in aid of its efforts to identify

 the true identity of the placeholder, John Doe Defendants.            (ECF

 No. 4).   This discovery is sought in an expedited fashion and

 before the parties have met and conferred pursuant to Rule 26(f)

 of the Federal Rules of Civil Procedure.

       Rule 26(d)(1) generally prohibits parties from seeking

 discovery “from any source before the parties have conferred as

 required by Rule 26(f).”      Fed. R. Civ. P. 26(d)(1).

 Notwithstanding, district courts possess broad discretion in

 managing the discovery process and may expedite or otherwise

 alter its timing or sequence.       In re Fine Paper Antitrust

 Litig., 685 F.2d 810, 817 (3d Cir. 1982) (“matters of docket

 control and conduct of discovery are committed to the sound

 discretion of the district court”); Business Ass’n of University

 City v. Landrieu, 660 F.2d 867, 877 (3d Cir. 1981).

       Rule 26(d) does not set a standard for determining when

 expedited discovery should be permitted.         Techtronic Indus. N.

 Am., Inc. v. Inventek Colloidal Cleaners LLC, No. 13-cv-4255

 (NLH/JS), 2013 WL 4080648, at *1 (D.N.J. Aug. 13, 2013) (citing

 Better Packages, Inc. v. Zheng, 05–cv-4477(SRC), 2006 WL

 1373055, at *2 (D.N.J. May 17, 2006)).         Absent guidance from the

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 rule itself, courts in this District have fashioned two

 standards for assessing whether expedited discovery is

 appropriate, the most prominent of which has been labeled the

 “good cause standard.”      Manny Film LLC v. Doe Subscriber

 Assigned IP Address 50.166.88.98, 98 F. Supp. 3d 693 (D.N.J.

 2015) (“[a] good cause standard governs whether to permit

 discovery prior to a Rule 26(f) conference”); see Sawhorse

 Enterprises, Inc. v. Church & Dwight Co., No. 12-cv-6811 (FLW),

 2013 WL 1343608, at *2 (D.N.J. Apr. 3, 2013); Techtronic, 2013

 WL 4080648, at *1.     “Courts faced with motions for leave to

 serve expedited discovery requests to ascertain the identity of

 John Doe defendants in internet copyright infringement cases

 often apply the ‘good cause’ test.”        Modern Woman, LLC v. Does

 I–X, No. 12–4859, 2013 WL 707908, at *2 (D.N.J. Feb. 26, 2013)

 (citations omitted).      The Court applies that standard here.

       Under the good cause test, whether to permit expedited

 discovery is decided by considering the totality of the

 circumstances and the balancing of the interests of the

 plaintiff and defendant.      Better Packages, 2006 WL 1373055, at 3

 (courts consider “the entirety of the record . . . and the

 reasonableness of the request in light of all of the surrounding

 circumstances”) (citation and internal quotation marks omitted).

 Good cause exists where the “need for expedited discovery, in

 consideration of the administration of justice, outweighs the

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 prejudice to the responding party.”        Malibu Media, LLC v. John

 Doe, No. 16-cv-942 (KM/MAH), 2016 WL 952340, *1 (D.N.J. Mar. 14,

 2016) (citation omitted); Better Packages, 2006 WL 1373055, at

 *3.

       A non-exclusive list of factors courts typically examine in

 conducting the good cause analysis include: (1) the timing of

 the request in light of the formal start to discovery; (2)

 whether the request is narrowly tailored; (3) the purpose of the

 requested discovery; (4) whether the discovery burdens the

 defendant; and (5) whether the defendant can respond to the

 request in an expedited manner.        See Better Packages, 2006 WL

 1373055, at *3.     Other courts have offered related but different

 factors for consideration, including (1) the plaintiff’s ability

 to make out a prima facie showing of infringement, (2) the

 specificity of the discovery request, (3) the absence of

 alternative means for obtaining the information sought in the

 subpoena, (4) the need for the information sought in order to

 advance the claim, and (5) the defendant’s expectation of

 privacy.   Strike 3 Holdings, LLC v. Doe, 329 F.R.D. 518, 521

 (S.D.N.Y. 2019) (citing Arista Records, LLC v. Doe 3, 604 F.3d

 110, 119 (2d Cir. 2010)).       Because these factors are all

 relevant to the Court’s current inquiry, the Court considers

 them all as part of its analysis.

       In conducting any discovery inquiry, the Third Circuit has

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 suggested that district courts risk reversal if their rulings

 will make it impossible for any party to “obtain crucial

 evidence[.]”    See In re Fine Paper Antitrust Litig., 685 F.2d at

 818 (3d Cir. 1982) (quoting Eli Lilly & Co. v. Generix Drug

 Sales, Inc., 460 F.2d 1096, 1105 (5th Cir. 1972)) (“[the Third

 Circuit] will not upset a district court’s conduct of discovery

 procedures absent ‘a demonstration that the court’s action made

 it impossible to obtain crucial evidence’”).

       With these guideposts established, the Court turns to the

 intricacies of Plaintiff’s motion.

       A. Plaintiff Has Pled A Prima Facie Case For Copyright
          Infringement

       At the pleading stage, a court must accept all well-pleaded

 allegations in the complaint as true and view them in the light

 most favorable to the plaintiff.          Evancho v. Fisher, 423 F.3d

 347, 351 (3d Cir. 2005).      It is well settled that a pleading is

 sufficient if it contains “a short and plain statement of the

 claim showing that the pleader is entitled to relief.”            Fed. R.

 Civ. P. 8(a)(2).

       To determine the sufficiency of a complaint, a court must

 take three steps.     First, the court must “tak[e] note of the

 elements a plaintiff must plead to state a claim.”           Malleus v.

 George, 641 F.3d 560, 563 (3d Cir. 2011) (quoting Ashcroft v.

 Iqbal, 556 U.S. 662, 664, 675, 679 (2009)) (alterations in


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 original and citations omitted).          Second, the court should

 identify allegations that, “because they are no more than

 conclusions, are not entitled to the assumption of truth.”            Id.

 (quoting Iqbal, 556 U.S. at 664, 675, 679).          Third, “whe[n]

 there are well-pleaded factual allegations, a court should

 assume their veracity and then determine whether they plausibly

 give rise to an entitlement for relief.”          Id. (quoting Iqbal,

 556 U.S. at 664, 675, 679).       The focus, therefore, is not on

 whether the plaintiff will ultimately be able to prove each fact

 alleged in the complaint, but simply whether, if such facts are

 later proven to be true, the plaintiff has stated a legally

 actionable claim.

       Plaintiff advances a single claim for copyright

 infringement.    To state a claim for copyright infringement,

 Plaintiff must allege that it (1) owns of a valid copyright, and

 (2) Defendants copied constituent elements of the work that are

 the original.    Feist Publ’ns, Inc. v. Rural Tel. Serv. Co.,

 Inc., 499 U.S. 340, 361 (1991); In re McGraw-Hill Glob. Educ.

 Holdings LLC, 909 F.3d 48, 67 (3d Cir. 2018).

       Plaintiff alleges that it owns valid copyrights to the

 material Defendants allegedly pirated.          (Compl. at ¶31)

 (“Plaintiff owns the copyrights to the Works”).          Plaintiff also

 identifies the registered copyrights that Defendants allegedly

 infringed by what appear to be their registration numbers, see

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 (ECF No. 1-1), along with other identifying information placing

 Defendants on notice of the specific claims against them.            These

 facts, as alleged, sufficiently satisfy the first element of a

 copyright infringement claim.

       Plaintiff also clearly alleges that Defendants pirated

 Plaintiff’s copyrighted material by downloading it through peer-

 to-peer sharing platforms.       See, e.g., (Compl. at ¶4) (“Using

 the BitTorrent protocol, Defendant is committing rampant and

 wholesale copyright infringement by downloading Strike 3’s

 motion pictures as well as distributing them to others.

 Defendant did not infringe just one or two of Strike 3’s motion

 pictures, but has been recorded infringing 36 movies over an

 extended period of time”); (Compl. at ¶23) (“Defendant used the

 BitTorrent file network to illegally download and distribute

 Plaintiff’s copyrighted motion pictures”); (Compl. at ¶27)

 (“Defendant downloaded, copied, and distributed a complete copy

 of each of Plaintiff’s Works without authorization”).            Plaintiff

 (1) identifies the infringing Defendant; (2) identifies the ISP

 hosting the infringing IP address; (3) identifies the city and

 state where the infringing activity occurred; (4) identifies the

 number of works infringed; and (5) identifies what appears to be

 the date and time of each infringing activity.          See (ECF No. 1-

 1).   These allegations unmistakably allege that Defendants

 infringed upon Plaintiff’s copyrighted material by downloading

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 copies of protected works.       Therefore, Plaintiff states a prima

 facie case for copyright infringement.         See, e.g., Strike 3

 Holdings, LLC v. Doe, 329 F.R.D. 518, 521 (S.D.N.Y. 2019)

 (reaching the same conclusion).

       B. The Court Below Erred In Concluding Plaintiff Failed To
          State A Prima Facie Case Of Copyright Infringement

       In finding that Plaintiff failed to state a prima facie

 claim, the Magistrate Judge considered material outside of the

 complaint and drew inferences against Plaintiff in determining

 the complaint would later fail, both of which constitute

 reversible error.

       First, in reviewing material beyond the four-corners of the

 complaint, the court found that Plaintiff’s allegations were

 hollow and would later prove to be untrue.          See Strike 3

 Holdings, LLC v. Doe, 2019 WL 5446239, at *1 (“Strike 3 bases

 its complaints on unequivocal affirmative representations of

 alleged facts that it does not know to be true”).           The Third

 Circuit requires, however, that where well-pled factual

 allegations exist, court should “assume their veracity” at the

 pleading stage.     Malleus, 641 F.3d at 563 (citing Iqbal, 556

 U.S. at 664, 675, 679); see Alston v. Parker, 363 F.3d 229, 233

 n.6 (3d Cir. 2004) (Third Circuit cautioned that courts should

 permit “discovery before testing a complaint for factual [as

 opposed to legal] sufficiency”).          As identified above, Plaintiff


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 pleads, quite clearly, that it owned the rights to films that

 these Defendants pirated on particular dates and times, and from

 particular locales.     In reaching its conclusion, the Magistrate

 Judge applied the opposite standard to the facts alleged,

 presuming their falsity based on information it gathered from

 outside of the complaint as opposed to their accuracy.            Such

 constitutes reversible error.

       Relatedly, the Magistrate Judge found that Plaintiff’s

 allegations failed to show its entitlement to relief from “the

 named John Doe” Defendants.       Strike 3, 2019 WL 5446239, at *7

 (“Strike 3’s complaints are devoid of facts sufficient to show

 it is entitled to relief from the named John Doe/IP

 subscriber”).    The court essentially found that the John Doe

 Defendants pled in the complaint were not shown to be synonymous

 with the subscribers of the infringing IP addresses, and

 therefore, Plaintiff failed to state a claim against the

 underlying, not-yet-identified defendants.          See id. (“The only

 material fact pleaded in Strike 3’s complaints is that the

 listed IP address is associated with the downloading of Strike

 3’s works and the John Doe is the subscriber of the address.

 All other material averments in Strike 3’s complaints, e.g.,

 that the John Doe subscriber downloaded Strike 3’s works, are

 conclusory statements, not facts.”).

       The court’s error is a nuanced one.        First, the Court

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 begins with the familiar rule that courts must take as true

 well-pled factual averments in a complaint and should “assume

 their veracity” at the pleading stage.         Malleus, 641 F.3d at 563

 (citing Iqbal, 556 U.S. at 664, 675, 679).          That requirement

 also requires courts to accept Plaintiff’s choice in identifying

 particular defendants, even if the chosen defendant is presently

 identified as a John Doe, and assume the facts alleged against

 that defendant accurately capture that defendant’s actions.             See

 gen. Jacobsen v. Osborne, 133 F.3d 315, 321 (5th Cir. 1998) (in

 pleading a “John Doe” defendant, there is no “mistake” in

 “identifying the correct defendant; rather, the problem was not

 being able to identify that defendant.”).         In other words,

 determining whether the defendant named in an action is in fact

 the defendant against whom liability will ultimately stand

 necessarily implicates an analysis of material outside the four-

 corners of the complaint, and considering whether the pled

 defendant is the wrong defendant at the pleading stage is

 inappropriate.     Carducci v. Aetna U.S. Healthcare, 247 F. Supp.

 2d 596, 609 (D.N.J. 2003), rev’d on other grounds sub nom.

 Levine v. United Healthcare Corp., 402 F.3d 156 (3d Cir. 2005)

 (“defendants’ argument that they are the ‘wrong’ defendants does

 not warrant relief on this motion to dismiss”) (additional

 citations omitted); see Roche v. Aetna, Inc., 167 F. Supp. 3d

 700, 714 (D.N.J. 2016) (denying motion to dismiss where the

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 defendants alleged the plaintiff had sued the wrong party, as

 such an argument constituted a genuine dispute of material fact

 to be decided at a later stage).

       Other courts have reached similar conclusions.          See gen.

 Strike 3 Holdings, LLC v. Doe, No. 1:18-cv-01490 EAW, 2019 WL

 1529339, at *4 (W.D.N.Y. Apr. 8, 2019) (“determining whether

 Plaintiff’s method for identifying copyright infringers is

 ‘flawed’ would not be appropriate at this stage.           Such an

 argument addresses Defendant’s ultimate liability”); see also

 id. (“Plaintiff is not required to ‘sufficiently establish[ ]

 [D]efendant did the infringing’ at the pleading stage [. . . .]

 Rather, Plaintiff must only allege facts ‘that allow[ ] the

 court to draw the reasonable inference that the defendant is

 liable for the misconduct alleged.’”) (citations omitted).            If a

 court believes more facts are necessary to clarify a cause of

 action or the proper party in interest, the parties are capable,

 under the rules, of exploring such matters in discovery and at

 later stages of litigation.       See Swierkiewicz v. Sorema N. A.,

 534 U.S. 506, 512 (2002) (“[t]his simplified notice pleading

 standard relies on liberal discovery rules and summary judgment

 motions to define disputed facts and issues and to dispose of

 unmeritorious claims.”).

       Further support can be found in Third Circuit precedent on

 pleading placeholder defendants.          Pleading facts that create a

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 cause of action against a presently unknown defendant occurs

 quite frequently in this Circuit and has been permitted by the

 Court of Appeals.     Blakeslee v. Clinton Cty., 336 F. App’x 248,

 250 (3d Cir. 2009) (“Use of John Doe defendants is permissible

 in certain situations until reasonable discovery permits the

 true defendants to be identified”).          As the Third Circuit has

 recognized, “[p]laintiffs may be unaware of the identities and

 roles of relevant actors and [may be] unable to conduct a pre-

 trial investigation to fill in the gaps.”           Alston, 363 F.3d at

 233 n.6.   By itself, however, this “lack of knowledge does not

 bar entry into a federal court.”          Id.   Consistent with notice

 pleading rules and liberal discovery rules, meritorious claims

 must be permitted to proceed even if a plaintiff cannot adduce

 all the necessary facts at the outset, including the identify of

 the Defendant.     See id. (citing Hindes v. FDIC, 137 F.3d 148,

 155 (3d Cir. 1998)).      Under such circumstances, “[t]he plaintiff

 should be given an opportunity through discovery to identify the

 unknown defendants[.]”      Id. (quoting Gillespie v. Civiletti, 629

 F.2d 637, 642 (9th Cir. 1980)).

       The Circuit Court has instructed that “[i]f discovery is

 sought by a plaintiff, as it was here, and if it would aid in

 the identification of responsible defendants or the lack

 thereof, district courts should strongly consider granting it.”

 Id.   Of particular relevance, the Circuit Court held that

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 “[b]ecause [the] complaint was dismissed before an opportunity

 for discovery, any expectation of factual sufficiency was

 premature.    It is a first principle of federal civil procedure

 that litigants ‘are entitled to discovery before being put to

 their proof.’”     Id. (quoting Bennett v. Schmidt, 153 F.3d 516,

 519 (7th Cir. 1998)).

        Because Plaintiff has sufficiently stated a viable claim of

 copyright infringement against the identified IP addresses and

 its placeholder-defendant subscribers, Plaintiff should be

 provided with discovery to further assist it in identifying the

 underlying wrongdoer.      Any consideration of the merits of

 Plaintiff’s actions before permitting discovery to identify the

 placeholder-defendants, including whether Plaintiff has sued the

 correct Defendants, would be untimely.         Alston, 363 F.3d at 233

 n.6.    While it is true that if “reasonable discovery does not

 unveil the proper identities, . . . the John Doe defendants must

 be dismissed[,]” such considerations are simply premature at

 this juncture and must await the result of the limited discovery

 Plaintiff will be permitted to take. 4       Blakeslee, 336 F. App’x at




 4 The Magistrate Judge found, as this Court now finds, that the
 information Plaintiff seeks is relevant and discoverable.
 Strike 3 Holdings, 2019 WL 5446239, at *6 (“the Court
 acknowledges that the information Strike 3 requests is relevant
 under Fed. R. CIV. P. 26(b)(1).”). The Magistrate Judge
 correctly recognized that “[e]ven if an IP subscriber is not the
 infringer, he/she is likely to know relevant information
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 250 (emphasis added).

       C. Good Cause Exists To Permit Limited Expedited Discovery
          So Plaintiff Can More Definitely Identify Its Placeholder
          Defendants

       For the reasons discussed above, discovery of the type

 Plaintiff seeks should be awarded at risk of otherwise leaving

 Plaintiff without access to crucial evidence in support of its

 claim.   In re Fine Paper Antitrust Litig., 685 F.2d at 818;

 Alston, 363 F.3d at 233 n.6.       Now the Court must determine

 whether that discovery should be provided in an expedited

 fashion.   Common sense dictates that early discovery is required

 in this instance so these cases can either proceed or be

 dismissed.    The good cause factors do not alter that conclusion.

       The first good cause factor, the timing of the request in

 light of the formal start to discovery, is not particularly

 relevant to this Court’s determination.         Alston counsels in

 favor of permitting Plaintiff the narrow discovery it seeks at

 this early stage of litigation.        363 F.3d at 233 n.6 (“[i]f

 discovery is sought by a plaintiff, as it was here, and if it

 would aid in the identification of responsible defendants or the

 lack thereof, district courts should strongly consider granting

 it.”).   Following Alston, the Court finds this factor weighs in

 favor of permitting expedited discovery of the limited type



 regarding who used their internet access.”          Id.   This Court
 agrees.
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 Plaintiff seeks.

       The second good cause factor, whether the request is

 narrowly tailored, also warrants permitting the discovery

 sought.   Plaintiff seeks only the name and permanent address of

 the IP address subscribers.       Such identifying information is

 narrowly tailored, requesting no more than would be required to

 identify the relevant individual.         Manny Film LLC, 98 F. Supp.

 3d at 695 (permitting the plaintiff to seek early discovery on

 the name and address of an internet subscriber whose IP address

 had been identified as allegedly engaging in copyright

 infringement); Malibu Media, LLC v. John Does 1–18, No. 12–cv-

 7643, 2013 Dist. LEXIS 155911 (D.N.J. Mar. 22, 2013) (same);

 Strike 3 Holdings, LLC v. Doe, 329 F.R.D. 518, 521 (S.D.N.Y.

 2019) (“Strike 3 seeks only the true name and permanent address

 of John Doe . . . .     The Court agrees that the Plaintiff here is

 not asking for more information than is necessary to identify

 and serve the Defendant”); see Malibu Media, LLC v. Doe No. 4,

 12-cv-2950 (JPO), 2012 WL 5987854, at *3 (S.D.N.Y. Nov. 30,

 2012) (“Malibu’s subpoena request is highly specific in nature;

 it seeks the name, current and permanent address, e-mail

 address, and Media Access Control (MAC) Address of each Doe

 defendant, attempting to obtain enough information to identify

 and serve the defendants”); Arista Records, 604 F.3d at 119.



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       The third good cause factor, the purpose of the requested

 discovery, is clear and narrow: to identify the subscribers of

 IP addresses connected with various copyright infringement

 activities.    See Strike 3, 2019 WL 5446239, at *9 (“[t]he Court

 is not unsympathetic to Strike 3’s argument that without the

 requested discovery it may not be able to identify alleged

 copyright infringers.”).      Binding Circuit-level precedent

 advises courts to grant limited discovery in circumstances where

 a plaintiff may not otherwise have access to means for

 identifying John Doe defendants.          See, e.g., Alston, 363 F.3d at

 233 n.6.   Therefore, this factor weighs in Plaintiff’s favor.

        The fourth good cause factor, whether the discovery

 burdens the defendant, does not preclude authorizing such

 discovery in these cases.       In the most literal sense, the

 discovery sought imposes no burden at all on Defendants, as it

 is sought from and will be produced by a third-party, the ISP.

 For the same reason, the fifth good cause factor, whether the

 defendant can respond to the request in an expedited manner,

 also serves as no barrier to granting the relief sought.

       Numerous other courts in this District have reached similar

 conclusions, ultimately deciding to permit service of a Rule 45

 subpoena limited to seeking the name and address of the IP

 address subscriber.     For example, in Malibu Media, LLC v. John

 Does 1-11, a similar type of action, the plaintiff sought leave

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 to serve a subpoena demanding that an ISP reveal a John Doe

 defendant’s name, address, telephone number, and email address.

 No. 12-7615, 2013 U.S. Dist. LEXIS 26217, at *3-4 (D.N.J. Feb.

 26, 2013).    The court granted the plaintiff’s request for early,

 expedited discovery, but limited the discovery request to the

 information absolutely necessary to allow it to continue

 prosecuting its claims: the defendant’s name and address.            Id.

 at *3.   Other courts have charted similar paths.          See, e.g.,

 Strike 3 Holdings, LLC v. John Doe subscriber assigned IP

 address 71.187.158.57, No. 19-cv-14006-ES-MAH, 2019 WL 4187573

 (D.N.J. Sept. 3, 2019) (collecting the cases that follow);

 Malibu Media, LLC v. Doe, No. 13-4660 (JAP)(DEA), 2013 U.S.

 Dist. LEXIS 189452 at *2 (D.N.J. Aug. 19, 2013) (limiting the

 scope of a pre-Rule 26(f) conference subpoena to a subscriber’s

 name and address); Voltage Pictures v. Doe, No. 12-6885

 (RMB)(JS), 2013 U.S. Dist. LEXIS 155356, at *9-10 (D.N.J. May

 31, 2013) (granting leave to serve subpoena requesting only the

 name, address, and media access control address associated with

 a particular IP address).       This Court is not aware of any other

 means by which Plaintiff could gather the information it seeks,

 and the narrow nature of its requests appear to provide the only

 reasonable way to obtain it.       Such further militates in favor of

 granting the relief sought.       Strike 3 Holdings, LLC v. Doe, 329

 F.R.D. 518, 521–22 (S.D.N.Y. 2019).

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       In total, the Court finds the good cause factors weigh in

 favor or reversing the Magistrate Judge’s decision and

 permitting Plaintiff to proceed with expedited discovery of the

 nature sought.

       D. Other Considerations Do Not Bar The Relief Sought

       The Magistrate Judge identified additional considerations,

 some of which the Court addresses here, that it thought

 warranted denial of expedited discovery.         These considerations

 do not bar the discovery sought.

       First, the Magistrate Judge concluded that because other

 means exist to combat infringement, Plaintiff should not receive

 expedited discovery in this lawsuit.        Strike 3, 2019 WL 5446239,

 at *12.   According to the court, the Digital Millennium

 Copyright Act (“DMCA”), 17 U.S.C. § 512(a), “affords copyright

 owners such as Strike 3 a process to notify ISP’s of the

 infringement of their works.       The ISP’s are then required to act

 on valid notifications and to terminate, in appropriate

 circumstances, subscribers and account holders who are repeat

 offenders.”    Strike 3 Holdings, 2019 WL 5446239, at *13.          The

 court appears to fault Plaintiff for not pursuing this

 alternative route before filing the present actions.           That

 criticism, however, is both unwarranted and not relevant to the

 issues before this Court.

       First, there is nothing in the DMCA that suggests that

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 merely because the statute allows a copyright owner the ability

 to compel ISPs to bar repeat offenders from using their services

 that the copyright right owner loses its statutory, and indeed

 constitutional right to sue infringers and seek the broader

 range of remedies provided by the Copyright Act.           See gen. 17

 U.S.C. § 501(a)-(b) (“anyone who violates any of the exclusive

 rights of the copyright owner . . . is an infringer of the

 copyright” and “the legal or beneficial owner of an exclusive

 right under a copyright is entitled . . . to institute an action

 for any infringement of that particular right committed while he

 or she is the owner of it.”).       Indeed, the DMCA was intended to

 protect ISPs, not infringers.       The DMCA “did not simply rewrite

 copyright law for the on-line world.”         CoStar Grp., Inc. v.

 LoopNet, Inc., 373 F.3d 544, 553 (4th Cir. 2004) (quoting

 Ellison v. Robertson, 357 F.3d 1072, 1077 (9th Cir. 2004)).

 Instead, it simply offered “certain safe harbor[s] for ISPs” but

 left courts free to “continue to construe the Copyright Act in

 deciding the scope and nature of prima facie liability.”            CoStar

 Grp., 373 F.3d at 553.      In other words, the DMCA merely added a

 second step to assessing infringement liability for Internet

 service providers, but is otherwise irrelevant to determining

 what constitutes a prima facie case of copyright infringement

 for ISPs or others.     Id. at 555.

       Indeed, review of the DMCA suggests that Plaintiff should

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 be granted, not denied, the discovery it seeks.          The DMCA limits

 the liability of internet service providers for copyright

 infringement that occurs at the hand of a subscriber.            See 17

 U.S.C. § 512(a) (“[a] service provider shall not be liable for .

 . . infringement of copyright by reason of the provider’s

 transmitting, routing, or providing connections for, material

 through a system or network controlled or operated by or for the

 service provider. . . .”).       The actions before this Court do not

 seek relief against an ISP, but rather a subscribing infringer,

 and in such circumstances, the DMCA actually supports granting

 Plaintiff the discovery it seeks in these actions.

       Section h of the DMCA is entitled “subpoena to identify

 infringer” and provides that “[a] copyright owner or a person

 authorized to act on the owner’s behalf may request the clerk of

 any United States district court to issue a subpoena to a

 service provider for identification of an alleged infringer in

 accordance with this subsection.”         17 U.S.C. § 512(h)(1).     Any

 such subpoena “shall authorize and order the service provider .

 . . to expeditiously disclose to the copyright owner or person

 authorized by the copyright owner information sufficient to

 identify the alleged infringer of the material described in the

 notification to the extent such information is available to the

 service provider.”     17 U.S.C. § 512(h)(3) (emphasis added).          In

 not unclear terms, the DMCA supports this Court’s reversal and

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 decision to grant Plaintiff leave to pursue discovery from the

 ISPs that will allow it to “identify the alleged infringer[.]”

       Second, the court below raised valid concerns about the

 risks of misidentification and embarrassment.          In part, the

 court found Strike 3’s subpoenas misleading and thought they

 created too much opportunity for misidentifying the proper

 defendant.    Strike 3, 2019 WL 5446239, at *11.        Relatedly, the

 court expressed concerns about risks associated with inadvertent

 identification or exposure of alleged infringers, who, later,

 are deemed to be misidentified.        Such could, the court found,

 expose that wrongly identified person to unwarranted

 embarrassment and ridicule.       These are meritorious concerns that

 this Court does not view lightly.

       On the one hand, Defendants have a legitimate privacy

 interest in their online activity.        Some courts have gone so far

 as to find that internet users have constitutional privacy

 interests in their internet browsing and file-sharing activity.

 Malibu Media, LLC v. John Does 1-11, No. 12-civ-3810(ER), 2013

 WL 3732839, at *5 (S.D.N.Y. July 16, 2013) (recognizing “a

 limited First Amendment privacy interest in anonymous internet

 usage, including the use of peer-to-peer file sharing

 networks”).    On the other hand, however, courts recognize that

 these privacy interests must not be used as a shield behind

 which internet users can commit unabated, legally actionable

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 behavior.    See Arista Records, 604 F.3d at 119 (“[t]he First

 Amendment right to communicate anonymously is, of course, not a

 license to . . . infringe copyrights. . . .          Nor is it an

 absolute bar against disclosure of one’s identity in a proper

 case”).   In general, privacy rights do not grant users a license

 to infringe on copyrighted material.        Thus, to the extent that

 anonymity is used to mask copyright infringement or to

 facilitate such infringement by subscribers or other persons, it

 is unprotected by the First Amendment.         Arista Records, 604 F.3d

 at 118.

       As in many areas raising issues of constitutional concern

 and conflicting provisions, the Court’s duty is to strike a

 proper balance between Defendants’ privacy interests and

 Plaintiff’s rights to protect its copyrighted material.            As the

 Court has noted, Plaintiff has alleged with the requisite

 specificity required by even heightened pleading standards that

 someone using the identified IP addresses violated its

 copyrights.    The Founding Fathers had the foresight to recognize

 that such rights are worthy of recognition in the Constitution

 itself, which compels Congress to protect such rights by

 appropriate legislative action.        U.S. Const. art. 1, §8, cl. 8

 (“To promote the Progress of Science and useful Arts, by

 securing for limited Times to Authors and Inventors the

 exclusive Right to their respective Writings and Discoveries”);

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 17 U.S.C. § 501(a)-(b) (permitting copyright holders to pursue

 infringement actions).      In that sense, there is nothing

 hypothetical or ephemeral about Plaintiff’s claims.

       On the other hand, while there may be privacy issues at

 stake and even First Amendment defenses available to the John

 Doe defendants, that is the part of this case that is truly

 speculative.    The Plaintiff’s right to take reasonable and

 measured steps to identify the real infringers should not be

 impeded by the possibility that other privacy interests may be

 implicated, particularly where, as this Court will discuss

 below, those concerns can be accounted for through use of

 protective orders.

       In balancing Defendants’ privacy interests with Plaintiff’s

 right to pursue those who anonymously violate its intellectual

 property rights, this Court finds that entry of a limited

 protective order strikes the right balance of interest and that

 any concerns about misidentification or privacy exposure are

 easily assuaged through implementation of an appropriate

 protective order.     Examples of such orders and limitations on

 publicity abound in this District and elsewhere.           See, e.g.,

 Manny Film LLC, 98 F. Supp. 3d at 696 (granting expedited

 discovery but directing the internet service provider to provide

 the internet subscriber with a copy of the order and a copy of

 the subpoena received from the plaintiff and upon receipt of the

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 order and the subpoena, granting the internet subscriber twenty-

 one (21) days to quash the subpoena or move in the alternative

 for a protective order.      Further, the court ordered that the ISP

 shall not provide any responsive information to the plaintiff

 until the latter of the expiration of twenty-one (21) days or

 resolution of any motion to quash or for a protective order);

 Strike 3 Holdings, LLC v. Doe, No. 18-cv-16593, 2019 WL 4745360,

 at *7 (D.N.J. Sept. 30, 2019) (declining to issue a protective

 order but permitting the plaintiff to proceed anonymously);

 Strike 3 Holdings, LLC v. Doe, 330 F.R.D. 552, 556–57 (D. Minn.

 2019) (entering a comprehensive, multifaceted protective order

 to aid in protecting privacy interests and limit risks of

 embarrassment and misidentification).

       This Court will leave to the able Magistrate Judge the task

 of crafting a protective order that balances the Plaintiff’s

 right to pursue its claims and the concomitant right of access

 to court proceedings enjoyed by the public with the legitimate

 privacy interests it may later identify.         Those privacy

 interests, however, do not warrant denial of Plaintiff’s

 discovery requests.




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                                 CONCLUSION

       Experienced federal litigators often confront the same

 federal rules day in and day out.         For example, Federal Rules of

 Civil Procedure 4 (Service), 8 (General Rules of Pleading); 11

 (Signing Pleadings, etc.), 26 (Duty to Disclose, etc.), 56

 (Summary Judgment) and 65 (Injunctions and Restraining Orders)

 are like old friends and comfortable clothes.          But there is one

 rule that is often overlooked and that is a mistake because the

 drafters made it the first rule presumably for a reason.

 Federal Rule of Civil Procedure 1 provides that the rules

 “should be construed, administered, and employed by the court

 and the parties to secure the just, speedy, and inexpensive

 determination of every action and proceeding.”          Plaintiff has

 asserted a valid copyright claim.         Unless the rules are

 construed to allow some reasonable method to determine against

 whom that claim should be asserted, Plaintiff will have

 presumably suffered a federal statutory wrong with no remedy.

 That is not just. 5


 5 Reformers examining the Federal Rules of Civil Procedure for
 ambiguity might be well advised to consult other codified rules
 of procedure that expressly allow for the pleading of John Doe
 placeholder defendants and the use of pre-complaint petitions to
 identify potential defendants otherwise unknown to the plaintiff
 at the outset of a case. See, e.g., N.J. Ct. Rule 4:26-4 (“In
 any action . . . if the defendant’s true name is unknown to the
 plaintiff, process may issue against the defendant under a
 fictitious name, stating it to be fictitious and adding an
 appropriate description sufficient for identification”); N.J.
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       For the reasons stated above, the Court will grant

 Plaintiff’s appeal (ECF No. 31) and reverse the learned

 Magistrate Judge’s decision.       On remand, the court shall fashion

 a protective order, to be entered in the Magistrate Judge’s

 discretion, balancing on the one hand the public’s right of

 access to court proceedings and on the other hand any legitimate

 privacy interests to be identified by the court.



 Ct. Rule 4:11-1(a) (“A person who desires to perpetuate his or
 her own testimony or that of another person or preserve any
 evidence or to inspect documents or property or copy documents
 pursuant to R. 4:18-1 may file a verified petition, seeking an
 appropriate order, entitled in the petitioner’s name, showing:
 (1) that the petitioner expects to be a party to an action
 cognizable in a court of this State but is presently unable to
 bring it or cause it to be brought; (2) the subject matter of
 such action and the petitioner’s interest therein; (3) the facts
 which the petitioner desires to establish by the proposed
 testimony or evidence and the reasons for desiring to perpetuate
 or inspect it; (4) the names or a description of the persons the
 petitioner expects will be opposing parties and their addresses
 so far as known; (5) the names and addresses of the persons to
 be examined and the substance of the testimony which the
 petitioner expects to elicit from each; and (6) the names and
 addresses of the persons having control or custody of the
 documents or property to be inspected and a description
 thereof”) (emphasis added). While the use of John Doe pleading
 in federal court is commonplace, this case demonstrates that the
 practice is not without controversy and confusion as to its
 proper use. In the view of this Court, procedure is best
 codified rather than left to the vagaries of federal common law
 and judge-made rules. See 139 A.L.R. Fed. 553 (“[t]here are no
 federal statutes or procedural rules that provide for the use of
 fictitious or ‘John Doe’ defendants in federal court. However,
 plaintiffs have, with varying results, included fictitious or
 Doe defendants in their complaints”) (emphasis added). Such
 reforms may be especially important in the age of the internet
 which both allows for and incentives anonymity and the use of
 fictious names by those who engage in tortious and other
 unlawful conduct.
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       Once the Magistrate Judge has entered its protective order,

 Plaintiff shall be granted leave to serve Defendants’ ISPs with

 a Rule 45 subpoena seeking the names and addresses of the

 subscribers assigned to the IP addresses identified in the

 respective complaints, limited in scope to the time periods of

 the alleged infringing activity outlined in the respective

 complaints and exhibits thereto.

       Further, Plaintiff shall be granted an extension of time

 within which to serve Defendants with process.          This Court

 leaves it to the able Magistrate Judge to determine the

 appropriate length of that extension, which may be impacted by

 the scope of the protective order entered.

       An appropriate Order will issue.



 Date: June 30, 2020                        s/ Noel L. Hillman
 At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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